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21
                                       WESTERN DIVISION
22
       UNITED STATES OF AMERICA ex                 No. CV 16-08697 MWF (SSx)
23     rel. BENJAMIN POEHLING,
                                                   UNITED STATES’ NOTICE OF
24                Plaintiffs,                      DECISION REGARDING
                                                   AMENDMENT OF COMPLAINT AND
25                       v.                        REQUEST FOR A SCHEDULING
                                                   CONFERENCE
26     UNITEDHEALTH GROUP, INC., et al.,
27                Defendants.
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 1           On February 12, 2018, the Court filed an Order (Docket No. 212) granting in part
 2     with leave to amend and denying in part the motion of the Defendants UnitedHealth
 3     Group, Inc., et al., to dismiss the United States’ Amended Complaint-in-Partial
 4     Intervention. The Order stated that the Government may file a Second Amended
 5     Complaint-in-Intervention on or before February 26, 2018. Order at 22.
 6           The United States of America, by its attorneys, hereby notifies the Court and the
 7     parties that, after careful consideration, it has elected not to file a Second Amended
 8     Complaint-in-Intervention in this action.
 9           Pursuant to Rules 16(b) and 26(f), Fed. R. Civ. P., the United States respectfully
10     requests that the Court promptly set a Scheduling Conference and issue a Scheduling
11     Order in this action. On December 22, 2017, the parties filed their Joint Rule 26(f)
12     Report (Docket No. 191), setting forth their respective positions regarding the timing and
13     sequence of discovery and other issues affecting this action.
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 1           Dated: February 26, 2018     Respectfully submitted,
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